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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION, )
800 K Street N.W., Suite 1000        )
Washington, D.C. 20001,              )
                                     )
NATIONAL FEDERATION OF               )             No. 1:25-cv-00420
FEDERAL EMPLOYEES, AFL-CIO,          )
1225 New York Avenue N.W., Suite 450 )             MOTION FOR
Washington, D.C. 20005,              )             TEMPORARY
                                     )             RESTRAINING ORDER
INTERNATIONAL ASSOCIATION OF         )             AND PRELIMINARY
MACHINISTS AND AEROSPACE WORKERS, )                INJUNCTION
AFL-CIO,                             )
9000 Machinists Place                )
Upper Marlboro, MD 20772,            )
                                     )
INTERNATIONAL FEDERATION OF          )
PROFESSIONAL & TECHNICAL             )
ENGINEERS, AFL-CIO,                  )
513 C Street N.E.                    )
Washington, D.C. 20002, and          )
                                     )
INTERNATIONAL UNION, UNITED          )
AUTOMOBILE, AEROSPACE AND            )
AGRICULTURAL IMPLEMENT WORKERS       )
OF AMERICA,                          )
8000 East Jefferson Avenue           )
Detroit, MI 48214                    )
                                     )
             Plaintiffs,             )
                                     )
             v.                      )
                                     )
DONALD J. TRUMP,                     )
President of the United States       )
1600 Pennsylvania Avenue N.W.        )
Washington, D.C. 20035,              )
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CHARLES EZELL,                                )
Acting Director,                              )
Office of Personnel Management                )
1900 E Street N.W.                            )
Washington, D.C. 20415,                       )
                                              )
DOUGLAS O’DONNELL,                            )
Acting Commissioner, Internal Revenue Service )
U.S. Department of Treasury                   )
1500 Pennsylvania Avenue N.W.                 )
Washington, D.C. 20220,                       )
                                              )
DOROTHY FINK, Acting Secretary                )
U.S. Department of Health and                 )
Human Services                                )
200 Independence Avenue S.W.                  )
Washington, D.C. 20201,                       )
                                              )
RUSSELL VOUGHT, Acting Director,              )
Consumer Financial Protection Bureau,         )
1700 G Street N.W.                            )
Washington, D.C. 20552                        )
                                              )
RANDY MOORE, Chief,                           )
U.S. Forest Service                           )
U.S. Department of Agriculture                )
1400 Independence Avenue S.W.                 )
Washington, D.C. 20250,                       )
                                              )
DOUG COLLINS, Secretary                       ),
Department of Veterans Affairs                )
810 Vermont Avenue N.W.                       )
Washington, D.C. 20420,                       )
                                              )
PETE HEGSETH, Secretary                       )
Department of Defense                         )
1000 Defense Pentagon                         )
Washington, D.C. 20301-1000,                  )
                                              )
MAKENZIE LYSTRUP, M.D., Director,             )
Goddard Space Flight Center                   )
National Aeronautics and Space Administration )
8800 Greenbelt Road                           )

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Greenbelt, MD 20771, and                       )
                                               )
MATTHEW J. MEMOLI, Acting Director,            )
National Institutes of Health                  )
9000 Rockville Pike                            )
Bethesda, MD 20892                             )
                                               )
                          Defendants.          )
______________________________________________ )

    PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                     PRELIMINARY INJUNCTION

          Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1,

Plaintiffs National Treasury Employees Union (NTEU), National Federation of

Federal Employees (NFFE), International Association of Machinists and Aerospace

Workers (IAM), International Federation of Professional and Technical Engineers

(IFPTE), and the International Union, United Automobile, Aerospace and

Agricultural Implement Workers of America (UAW) (collectively, the Unions)

submit this motion for a temporary restraining order and preliminary injunctive

relief.

          The Unions seek emergency relief to protect the workers they represent from

the Executive Branch’s active liquidation of the federal government through the

mass firings of hundreds of thousands of employees (those who are considered

“nonessential” for purposes of a government shutdown and those who are in

probationary status) and a pressure campaign on federal workers to quit their jobs

through a “deferred resignation program.” The mass firings are underway and are

proceeding at a staggering pace, as the President and his administration demand


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agencies to implement Executive Order No. 14210, Implementing the President’s

“Department of Government Efficiency” Workforce Optimization Initiative (Feb. 11,

2025) and his other workforce reduction projects.

         The Executive Branch’s decimation of the federal civilian workforce through

these actions, collectively, conflicts with Congress’s constitutional prerogative to

create federal agencies, legislate their missions, and fund their work. The Executive

Branch’s actions thus violate separation of powers principles. The mass firing of

employees, in addition, violates Congress’s reduction-in-force protocol.

         Absent prompt injunctive relief, Plaintiff NTEU will imminently lose as

much as half of its dues revenue and around half of the workers that it represents.

Its bargaining power and influence with respect to its workers and at agencies

where it represents workers will be diminished in a way that cannot be undone. The

other union plaintiffs will likewise lose critical revenue and heft at the bargaining

table.

         For these reasons and those contained in the accompanying memorandum of

points and authorities, the Unions thus ask this Court to immediately enjoin

Section 3(c) of Executive Order No. 14210, which directs the firing of nonessential

federal employees and others; the mass firing of probationary employees that is

occurring across federal agencies; and further extension or implementation of the

deferred resignation program.




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                            Respectfully submitted,

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                            ___________________________
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                            /s/ Paras N. Shah
                            ___________________________
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                            /s/ William Li
                            ___________________________
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                            Associate General Counsel
                            D.C. Bar No. 1006366

                            /s/ Allison C. Giles
                            ___________________________
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                            /s/ Jessica Horne
                            ___________________________
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                            Assistant Counsel
                            D.C. Bar No. 1029732

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                            /s/ Yvette M. Piacsek
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                            D.C. Bar No. 980302

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                            /s/ Carla M. Siegel
                            ___________________________
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                                 /s/ Teresa Ellis
                                 ___________________________
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                                 D.C. Bar No. 495855

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February 14, 2025                Attorney for Plaintiff UAW




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